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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
                                                                                 RECEIVED
                 Hong Zhuang

                                                                                        FEB 0 8 2018
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                                                                                       WILLIAM T. WALSH
                                                                                             CLERK
     (Jn the spaL-e above enter the full name(s) ~f the plaintff]fs))


                             - against-

         EMD Perfo.rmance Materials Corp.                                             COMPLAINT
                                                                                 JuryTriat:Ovcs      0No
                                                                                              (Check one)




(Jn the spacealxweenter the full name(s) qfthe Jefi>ndant(s)_ lfyoo
cannotfi.J thenamt.>s ofalloftheJefendants in thes/MU pro\;iJ"~J.
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additional .du'f.11 ofpaper lt ith the.full list of names. The names
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                                    1


Part J. Addresses should not be included here.)

I.          Parties in thls complaint:

A.          list your name. address and telephone nimlber. Do the same for any additional plaintiffs named. Attach
            additional sheets ofpapt..-r a.<; necessary.


Plaintiff            Name                             Hong Zhuang

                     Street Address                   64 The Terrace, Apt #2

                     County, City                     Rutherford

                     Srate & Zip Code                 NJ 07070

                     Tclcphone Number                 908-635·3058
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B.       Lista Udefendants. You should state the full name of the dcft.~dants, even if that defendant is a government
         agency, an organization, a corporation, or an individual. lnc.lude the address where cac.h de fondant can be
         St.--rvcd. Make sure that the dcfcndant(s) listed below arc identic.al to those c.ontaincd in the abo,.·e caption.
         Attach additional sheets of papt.'T a.'t ne<.-essary.

Dcfendant No. 1                       Name EMO Performanoe Materials Corp. (Job Location: Somerville NJ 08876)

                                      Street Address 12<10 lntrepid Ave
                                      County, City PhHadelphia
                                      State & Zip Code _P_A,~1_9_1_12_ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Dcfendanl No. 2
                                      S~ectAddr~~--------------------~
                                      CoLmty, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                      State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Defendant No. 3
                                      Street Address-~-----------~-~~~~~
                                      County~ C i t y - - - - - - - - - - - - - - - - - - - - - -
                                      State & Zip Code ---------------------------------------


DefendantNo. 4
                                      StrcctAddrcss __~~~~~~.......~~~~~~~--~~=-~==-
                                      CoW1ty~City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-,--_ _

                                      State & Zip C o d e - - - - - - - - - - - - - - ' - - - - - - - - - -




ll.      Basis for Jurlsdkdoo:

Federal courts are courts ortimitedjurisdictiort. There are four types ofcases that can be heard in federal court}}
Federal Question - Undcr28 U.S.C. § 1331, a case involving the United States Constitution or foot.Tai laws or ~catics
is a federal question case; 2) Diversity of Citizenship - Under 28 U.S.C. § 1332; a case in which a citizen of one
state sues a citizen of another state and the amount in damagt."'$ is more than $75,000 is adhcrsity of citizenship case;
J) U.S. GO\·cmmcnt Plaintiff; and 4) U.S. Government Defendant

A.       What is the basis for fcderal court jurisdiction·~ (ched all that apply)
        ~Federal Questions                      D   Di\crsity of Citizenship

        ou.s.     Go\'crnmcnt Plaintiff         ou.s.     Go\·crnmcnt Defendant


B.       If the basis for jurisdiction is Federal Question, what federal Constitutional, statlltory or treaty right is at
         issue'! Association Provision of the Americans with Disabi&ties Act of 1990, as amended, 42 U.S.C. §§ 12112:12117
         Title VH of the CM Rights Act of 1964. as am.ended, 42 U.S, C. §§ 2000e:2000e-17
         Age Discrimination in E.mployment Act of 1967, as amended, 29 U.S.C. §§ 621:634

         Family Medical Leave Act, 29 U.S.C. § 2601, et seq., New Jersey Libel Slander and Defamation Law

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        C.       lflhc basis for jurisdiction is Din....sity ofCitizenship. what is the state ofcitizenship of each party?

                 PlaintitT(s)state(s) ofc:itizcnship _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                 Dcfcndant(s) statc{s) of citizenship _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-'-----

        Ill.     Statement of Claim:

        Sratc as briefly as possible the fact'i of your case. Describe how each of the defendants named in the caption of this
        complaint is irl,,·olved in this action, along with the dates and locations of all relevant events. You may wish to
        irtdudc further detaits such as the names of oth{T per$0ns involved in the events giving rise to your claim.s. Do not
        cite any eases or statutes. lf you intend to allege a numlx...'t of related clairm, number and set forth each claim in a
        separate paragraph. Attach additional sheets ofpapc..-r as necessary.

        A.       Wht.Te did the events giving rise to your claim(s) occur? - - - - - - - - - - - - - - - - -
        EMO Performanoe Materials Corp .• 70 Meister Ave., Somerville, NJ 08876


        B.       What date and approximate time did the events giving rise to your c.laim(s) occur?
        twas harassed 04-01-2016 to 04-03-2017
         I was terminated 04-03-2017


        C.       Facts: Please see additional sheets attached.




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IV.      lnj uries:


If you sustained inj urics related to the CVL"llts alleged abo\·c, describe them and state what medical trea tmcnt, if any,

you requiredandn.~cived. - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




v.       Relier:


Sr.ate what you want the Coun to do for you and the amountofmonetal)' compt.'"llSation, if any, you arc seeking, and
the basis for such oompt..~atlon.
Repai' my reputation: Clarify the true facts and prevent rumor spreading.

Reinstatement of my employment: Equal treatment as other team members.
 Lost wage and benefits $40,000
 Extra rent and moving eitpen&es $24,000

 Emotional stresses to me and my famUy $20,000
 Severanoe for 17 years employmem $70,000




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I declare under penalry af perjury that the foreg,aing k true and oorreet.


Signed thi.s_8_day of___F"""'e=brua=ry
                                   _ _ _ _ _ _ _ _ _ _ _ _ _, 20~.




                                            Signature of Plaintitf _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            Mailing Address 64 The Terraoe. Apt #2
                                                               Rutherford
                                                               NJ07070

                                            Telephone Number 908'"635-3058
                                                                 ~-------------~

                                            Fax N umb<.T (if you ha\!e one)
                                            E-mail Address     hzhuang98@yahoo.com



Mote:   All plaintiffs named in the caption of the complaint must date and sign the complaint.




                                                SignatureofPlaintiff:       ~




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                                   AECE fVE                [jong Zhuang- III Statement of Claim: Facts


                                        FEB 08 2018
Summary                              Al 8:30               M
                                         WILLIAM T. WALSH
My former employer EMD Performance MaY&~~ Corp. discriminated, harassed, and termina,ted m.e,
an US citizen, based on 1) I have a relationship or association with an individual who is disabled (I
notified that my husband was disabled due to critical illness in 2016); 2) based on my age (I was 57
years old when the discrimination started); 3) Based on my race (I was the only Asian in the team),
4) Based on my future prospect of taking FMLA. Due to those discriminations, I was harassed 04-01-
2016 to 04-03~2017 and terminated 04-03-2017citing failing performance requirements when I fully
accomplished all performance objectives. Furthermore, in order to justify the unlawful termination,
5) EMD intentionally mad a false defamation rumor against me and damaged my reputation and my
career. Evidences and details of each are listed following.


Background

I worked in the same job location (Somerville NJ) for 17 years with always excellent performance,
and was promoted from chemist to senior chemist to product safety coordinator. The company used
to be "AZ Electronic Materials Corp." which was purchased by "EMD Performance Materials Corp."
in' 2014. My job function in AZ was merged with same job function ofEMD to form combined
"Hazard Communication" team. Previous AZ employees (John DiCarlo, Josh Gurman (retired from
AZ, part time consultant), and myself) were working from NJ office, and previous EMD employees
(the manager and other two employees) were working from Philadelphia office. In 2016, a new
employee (Matthew Morrison) was hired into Philadelphia office and another new employee hired to
work from St. Louise, MO office.

Previous AZ employees had been working on traditional AZ products, and previous EMD employees
had been working on traditional EMD products. There was no product transfer arranged between the
two product lines nor integration of the two product lines.

I was the only Asian in the team and relatively old. And, in April 2016, I informed my manager
Luciana Felix and her manager Director Paul Newcomb that my husband was critically ill with
advanced stage cancer. I informed that I would need time to care for my husband and asked for the
consideration of arranging team activities in New Jers_ey facility when possible, so that I could be
with my husband in the evenings.

After that notice, all meetings (many required overnight stays) were all held in Philadelphia office,
and I experienced hostile discriminatory treatments from my management in several ways as detailed
in the examples below. Such discrimination continued for a year and I was terminated from my job
performed well for 17 years on April 3, 2017.

Details of the discriminations
1. I was discriminated and terminated due to association with a disabled person, with
   assumption that bis medical expense would be costly to the company. After I enrolled my
   husband with cancer condition into my company sponsored health insurance starting
   January 1, 2017, my manager altered my originally' good 2016 performance in February
   2017 with non-existent performance accusations, and used it to terminate me on April 3,
   2017

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  In the end of December 2016, we conducted our year-end performance reviews. My manager and
  I checked through all 6 performance objectives that were set-up for me for 2016. I performed
  very well in ALL performance goals. The manager's year-end general comments on page 5 stated
  "At this point, Hong is meeting all of her objectives" (1.1 to 1.6 of Exhibition #1 ).

  Surprisingly, in late February 2017 my manager suddenly appended a separate section of
  negative performance comments to my already done 2016 review with a employment warning.
  Those comments cited that I refused to coach a new employee and I refused to work on all
  products and all projects.

  1) The new employee's training was not even assigned to me but I helped with;

  2) We were a team of 6 members working on two product lines. There was never any
  arrangement for integrating the two sides of work nor any product requirements/knowledge
  transfer process. No one in the team was required to work on both product lines. The manager
  could not substantiate any when I inquired;

  3) Demanding me to work on all products and all projects for a team of 6 members or no
  employment warning was purely a discrimination.

  All of sudden, the A rating of "meeting all objectives" (end of 2016) changed to "performance
  must improve to remain a member of the team" (late February 2017), and "you are failing to meet
  performance requirements" (Performance Improvement Plan, April 3, 2017), and made it to my
  termination (April 3, 2017) for the same 2016 performance that nothing could have been done
  since the first assessment.

  The only change since end of2016 was my husband became disabled, could no longer work, and
  enrolled in my company sponsored medical insurance plan coverage starting January 1, 2017. As
  with all cancers, his treatment cost was not trivial. I was terminated due to EMD believes that my
  husband's medical bill would be costly for the company.

  In late February 2017, I found out that my manager suddenly appended a section of fabricated
  negative performance comments and an employment warning to my already done 2016
  Performance Management Form and forwarded online for "employee acknowledgemenC without
  informing me of the addition. I promptly contacted manger LQciana Felix for when, why, what
  caused those claims. She indicated that she entered that sectiQn the week before, and her manager
  Paul Newcomb instructed her to push it through the system without informing me. She would not
  give the reasons/evidences but promised would discuss when I got in Philadelphia office for User
  Acceptance Test (UAT) in the week of March 13 to March 17.

  On Wednesday March 22 I finished the UAT tests and re-tests. At 2pm, the manager finally had
  a meeting with me but took me to HR office to have the discussion together with HR business
  partner Kristi Dye. In HR office, the only event/evidence the manager presented was an E-mail
  communication between the manager and me discussing traditional EMD product LC Label
  releasing. 1) This was a communication in 2017 not 2016. 2) LC were traditionally EMD
  products that never had a product requirements/knowledge transfer process to me. I did nothing


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  wrong by ask someone qualified to check. HR business partner Kristi Dye informed me that sp.e
  and Luciana Felix would come to New Jersey office in the future to present me with more
  evidences.

  With no evidence presented, on March 24, the manager urged me to acknowledge the review
  even though the official deadline was March 31. At the urge of the manager, on March 27, I
  acknowledged th~ rnvi~w ()~curred bµt illclic:~t~d that I disagree with the portion of added
  negative performance comments with supporting explanations.

  Moments after I send it online, HR Kristi Dye send me a message that she and the manager
  would come to New Jersey office for a formal performance improvement plan with me, even
  though the previous conversation w~ to provide evidences identifying any p~rformance issues.

  On April 3, 2017, my manager (Luciana Felix), manager's manager (director Paul Newcomb),
  and the HR Business Partner (Kristi Dye) came to New Jersey office to have a meeting with me. I
  thought it was issue identifying first and brought evidences of my performances. Little did I
  know that I was shown a prepared Performance Improvement Plan (PIP), terminated, and rushed
  out.

  The PIP (Exhibition #2) did not provide evidences for the manager's added comments but raised
  different and strange issues, (e.g. ''meeting manners", "discussing a previous HR investigation
  that has been closed for many years"). I was not aware of ANY HR investigation ever happened
  and the manager and HR Business Partner would not clarify after repeated inquiries.

  The PIP stated "you are failing to meet performance requirements" when I performed well in all
  6 areas of assigned performance objectives/requirements. PIP also stated "failure to demonstrate
  immediate, significant, and sustained improvement may cut the PIP period short and result in
  corrective action - up to and including termination".

  In the PIP meeting, I responded the following:
  • The manager started PIP presenting with citing that I interrupted speakers in GPLS meeting
  in 2016. It was, in fact, someone else interrupted, and people of the other team reported the
  interruption to director Paul Newcomb at that time. Paul Newcomb promptly discussed the
  problem with that person. I asked Mr. Newcomb to verify the true fact at the PIP meeting but he
  kept silence.

  • In response to the citation of I assuming being added work load was because someone else
  did not perform, I showed Matt Morrison's own statement that he was trained by John DiCarlo
  and W(lS to take over Mr. DiCarlo's role at his retirement in an email message in October 2016.

  • The PIP continued to cite that I discuss non-work topics. "For example, discussing a previous
  HR investigation that has been closed for many years". I was not aware of ANY HR investigation
  ever and the manager and HR Partner would not clarify after repeated inquiries.

  • In response to the citation that I refused to share information with fellow employees, I
  showed the list of topics/knowledge that I transferred to Matt Morrison in four days (January 10



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   to 13 ). I showed many communications that I helped other team members including Matt
   Morrison.

   • In the PIP meeting, I was in the stage of disbelief I tried to show evidence to convenience
   management and HR that the brought up issues were misunderstandings and did not exist.
   However, it was suddenly announced that I was terminated from the job that I performed well for
   17 years. No reason needed for at will employment. There was a comment that I now have all the
   time for my husbat1d.

   After I was terminated, my work was taken over by Matt Morrison and Tyler Orff. Tyler Orff
   was a temp employee hired for projects. He is a white male in his 20's.

2. I was discriminated due to association with a disabled person based on assumption of fear
   that I was unable to put all I could into my job. The discriminations against my race and
   age played major roles in these as well. This happened in three forms below in 04/2016 -
   04/2017

a) My work load continuously being added that I was working most of what used to be two full time
   jobs, and still being pushed and harassed for more. I was demanded must "work on all products
   and projects" for a 6 member team or I could not remain employment.

   1) In December 2016, I was overwhelmed by working on my regular job, and all 6 team
   projects, as well as support Asian counterpart team projects. I asked the manager to distribute the
   6 team projects to all team members in the similar manner as all other teams where every "key
   users" took up one or two projects. The manager refused and demanded that I work on all
   projects.

   2) In January 2017, my work partner John DiCarlo was retiring and I asked Matt Morrison, who
   was supposed to be Mr. DiCarlo's replacement, to take over one of his responsibilities (sending
   out customer SDSs). Mr. Morrison complained to the manager and she demanded that I took tlicit
   over. When Mr. DiCarlo's other responsibilities were falling down after his retirement, I did not
   dare to ask and had to take them all up.

   3) In January 2017, the manager requested me to take up the work of"regulatory service" while
   someone was hired for that job. Since I was added more work, I asked 2 other team key users to
   take over one of the 6 projects but was requested by the manager to keep working on this project.
   Therefore, I was demanded the work load that essentially used to be two full time jobs.

   4) On March 2, 2017, I received a German colleague's supporting request for a list of project
   work. Since I had been working days and evenings consecutively, I asked the manager for
   helping delegation. Together with the request, I explained reason for delegation with a snapshot
   of my work E-mail communication throughout days and evenings in three days. The manager did
   not provide any assistance and I worked the weekend to finish.

   5) In February 2017, I was contributing to the best I could-- having my regular work, plus all of
   team projects, covering regulatory service work, and the portion of John DiCarlo's work which
   were falling down after his retirement. I could not believe that the manager would added to my


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   already done positive 2016 performance review citing not "working on all products and projects"
   and would not "remain a member of the team" which did occur April 3, 2017.

   I was one member of a 6 member team. No one else in the team worked on more than one
   product line, more than one project. Only I was demanded to work on all products and all
   projects, and was terminated for that. It was a discrimination due to I was the only Asian in the
   team, and associated with a disabled husband.

   6) We were a team of 6 members. Only Stephanie Brockenbrough, who is Black, and me, an
   Asian, were required to write weekly work reports. White team members were not required to
   write weekly reports.

b) I experienced hostile discriminatory treatments from my management when I needed time off or
   needed evening hours to care for my sick husband.

   1) In or about June 2016, my work partner John DiCarlo and I carpooled to Philadelphia office
   for a team meeting. After the meeting, both of us declined to go dinner because I had a sick
   husband at home and John had personal business at home as well. Afterwards, I was struck with
   harsh criticisms and negative comments for passing that social dinner. An identified area of
   improvement "Engaged and involved in department activities - team integration" was added to
   my objectives. My co-worker John DiCarlo did not stay for that dinner either, but did not get any
   problems. I was discriminated due to I have a disabled family member. Also, I am Asian and Mr.
   DiCarlo is white.

   2) On Thursday March 23, 2017, I notified my manager that I needed to take Tuesday March 28
   off. Next day Friday March 24 I needed to squeeze 3 day work into 2 days since John DiCarlo
   retired and nobody was covering for my off. At 10:59am, the manager sent a message "Hong,
   Please prioritize working on the templates" which was a major project. At 12:55pm, colleague
   Matt Morrison in Philadelphia office asked me to help his SDS work. I spend time checked his
   work, figured out the problems, and replied him with illustrations of the problems and the
   corrections to make at 2:05pm. 15 minutes later at 2:20pm, he sent back his corrected SDS for
   me to check for him again.

   It was apparent that, for 15 minutes, he only followed what I told him without even look to check
   the results. At that time, I had already helped him once and really needed time to work on the
   manager requested priority and responsible urgencies for AZ product line needed for next three
   days so that I could take Tuesday off. Therefore, I asked Mr. Morrison to check the work himself,
   "and then I can help you next Wednesday. I will be out of office on Tuesday." I copied Josh
   Gurman in case he could help.

   Mr. Morrison complained to the manager who, well aware that I needed to squeeze three day, s
   work into two days and her required priority project, blamed that I could not help Mr. Morrison
   in a timely manner on the second time and asked Mr. Morrison to review his own work. I was
   demanded to "follow up with trainees (including Matthew Morrison) within 24 hours of them
   asking a question. Trainees should not be told to check their own work."


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   So I was requested to help others, to do my own work, to check my own work, to check other's
   work, and to prioritize for major project, while the trainee should not be told to check his own
   work. Which SDS author in this profession does not need to review own work? It was a typical
   discrilllirl~tion example in my work environment.


   3) In or about May 2016, our team were to participate in a multi-day training (GPLS). The
   training was to be conducted in Philadelphia office but I made the arrangement with the trainers
   to participate via on-line meetings from New Jersey office so that I could be home for my
   husband in evenings. On the Friday before the training week, my manager called and demanded
   thatl go Philadelphia office in person for the training so that I was unable to care for my husband
   for~ w~e).c.

   4) Early December 2016, I notified my manager needed days off to take husband seeing an out
   of state expert doctor. Then, I received an invitation for a project meeting. I explained to the
   meeting organizer that I was going to be out of town and could not participate. Strangely, eve11
   though we have other team members participating, the meeting organizer notified that I needed to
   get my manager's permission to pass that meeting. For that permission, I had to explain the
   medical appointment was already a reschedule due to my work, and send her the hotel
   reservation which was non-refundable.

   5) Because of 17 years of service, I was entitled 27 days of paid time off per year. Due to all the
   difficulties and resistances I met with whenever requesting time off, I had to cancel/postpone
   time off plans. I was only able to take 20 of the 27 days in 2016 with my husband being ill most
   of the time. The remaining 7 days were forfeited, whereas the manager and all other team
   members had no problem for their vacation offs.

c) When a young white new employee could not perform the job after his planned training by
   others, it was used as a performance issue for my terminated. His training was not even assigned
   to me but I helped

   Matt Morrison was hired as a senior specialist in August 2016 to be the replacement of my work
   partner John DiCarlo (also senior specialist) at Mr. DiCarlo's retirement in January of2017. Both
   Mr. Morrison and management communicated that he was trained by Mr. DiCarlo and I was not
   assigned the trainer role nor involved in meetings regarding his training.

   Mr. John DiCarlo's initially estimated the training would take two weeks since Mr. Morrison was
   experienced senior level. Mr. Morrison was trained with John DiCarlo for 5 months. In January
   2017, he could not perform Mr. DiCarlo's responsibilities. Since Mr. Morrison had difficulties, I
   then helped and talked with him for 4 full days (January 10 to January 13, 2017) covering all
   aspects of our work. A list of the training topics/knowledge covered was sent to the management.
   Neither Mr. Morrison nor the manager complained that I missed any information, topic, or
   knowledge.

   There were many E-mail communications that I helped other team members including Matt
   Morrison. However, I was charged for refusing sharing information to colleagues who needed to
   do their work and terminated on April 3, 2017.


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   When a young white could not perform well beyond his planned training, he was not to blame,
   his assigned trainer (white) was not, but an older Asian who helped was to punish and terminate.
   I was the only Asian in the team and the manager & Mr. Morrison are both white, I was older
   (57) and they were both at least ten years younger. It was discrimination based on my race, age,
   and association with a disabled individual.

   In the event on March 24, 2017 described above, it was apparent that Mr. Morrison did not do the
   essential requirement of checking the SDS that he created. However, instead of coaching Mr.
   Morrison for correct work attitude when he complained, the manager demanded me for should
   not ask him to check his own work. A typical discrimination that I experienced in my work
   environment. Which SDS author does not need to check own work but demand co-worker to
   check for him?

   Mr. Morrison was supposed to take over my work partner John DiCarlo' s work responsibilities at
   his retirement, but they were added to my workload.

   I had been sending information, training notes, how to instructions to the whole team, more than
   all I received combined. If anyone (including Matt Morrison) asked me a question, I always
   helped. Mr. Morrison needed to do the work and come up with questions. He did not do the
   work, only wanted co-worker to work it out for.him one time after another. If not, he was going
   to complain to the manager who was, as always, discriminatorily harassing me instead of correct
   Mr. Morrison's work attitude.

3. EMD management made false, defamatory statement against me and spread it.

   In my manager prepared Performance Improvement Plan (PIP) on April 3, there was a statement
   that I "discussing non-work topics with other employees and managers of other group". "For
   example, discussing a previous HR investigation that has been closed for many years". I have no
   knowledge of any HR investigation ever existed. There was, indeed, some misunderstanding
   about my honesty in workplace that occurred in 2009. When I learnt about it in 2015, I talked
   with the witness and called a meeting with relevant employees and managers (of other group) for
   clarification. The issue was clarified and everyone expressed no concerns.

   In order to cover the unlawful termination of me, EMD management purposely make up a rumor
   that there was a previous HR investigation closed on the matter, and spread it. EMO purposely
   damaged my reputation.


   Three months after terminated from EMD, I went on a job in another company. In August 2017
   there were "previous HR investigation" rumors in my new job workplace. I send a message to
   EMO HR Business Partner Kristi Dye asking an EMD statement as to whether there was a
   "previous HR investigation" which involved me in EMD so that I could "clarify the confusion
   out here". EMD refused to help me clarifying the rumor they created. I then send a request to
   EMD for accessing personal information so that I could verify to my new management which
   was also ignored. Eventually, I lost that job.




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                                                               Hong Zhuang III Statement of Claim: Facts




       I need to work to support my family since husband is disabled and significant medical expense. It
       was very difficult to land another job because the reason for leaving previous job was being
       terminated. The only job I found has commute time from home up to 4 hours a day which is not
       practical when the husband is sick at home needing medical care at any time. Currently, I am
       taking the husband with me renting an apartment near my work We are paying extra rent money,
       and my husband is away from the comfort of home, his primary care doctor, and his supporting
       system of friends and neighbors.


    4. EMD ignored and retaliated my compliant and lied about my FMLA statement

       On March 20, 2017, I send a message to my manager's management (Paul Newcomb and Karl
       Hensen) for help. I complained about having been the target of the unceasingly discriminatory
       hostile work environment including the fabricated allegations and the threatening of employment
       if I did not take up all work for the whole team added to my 2016 review. In that message, I also
       stated "I have learnt what Luciana wrote in my review might be unlawful according to US FMLA
       law".

       On 3/22/2017, EMD HR business Partner Kristi Dye asked me to and I did "confirm that I have
       not applied for or requested a leave of absence under the Family and Medical Leave Act
       ("FMLA"), nor have I been denied taking time off for FMLA purposes". Kristi then informed me
       that I was not protected if I did not specifically apply FMLA. She advised "Should you need to
       apply in the future, you can go to the HR.4You (website)".

       After my termination, I discussed my experience with attorney Raymond Seigler who pointed out
       that my notification of husband's serious illness and compliant about violating FMLA by way of
       hostile treatment during the year after notification were protected activities under FMLA.
       Furthermore, in order to avoid the burden of potentially being without an employee in the future,
       EMD unlawful_ly terminated my employment. Mr. Seigler sent an attorney letter to EMD with
       those statements. In response, EMD denied, lied and falsified my communication with Ms. Kristi
       Dye.

    Reliefs Sought:

        Repair my reputation: Clarify the true facts and prevent rumor spreading.
        Reinstatement of my employment: Equal treatment as other team members.
        Lost wage and benefits $40,000
        Extra rent and moving expenses $24, 000
        Emotional stresses to me and my family $20,000
        17 years of severance $70,000




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